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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
 MICHAEL MARR,

                                 Plaintiff,
                                               CIVIL CASE NO. 07-10931
 v.

 CITY OF DETROIT, et al.,                      HONORABLE STEPHEN J. MURPHY, III

                      Defendants.
 ______________________________/

        ORDER OVERRULING THE PLAINTIFF’S OBJECTIONS AND
  ACCEPTING THE MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       This is a pro se prisoner civil rights suit filed pursuant to 42 U.S.C. § 1983. The

plaintiff alleges that the defendants unlawfully delayed the plaintiff’s arraignment for more

than 48 hours after his arrest and that the defendants unlawfully denied the plaintiff medical

care and treatment while in custody. The defendants filed a motion for summary judgment.

       On August 27, 2008, Magistrate Judge Pepe issued a Report and Recommendation,

recommending that summary judgment be granted in favor of the defendants on both of the

plaintiff’s claims. The magistrate judge served the Report and Recommendation on the

parties and notified the parties that any objections must be filed within ten days of service.

The plaintiff filed timely objections. For the reasons stated below, the Court overrules the

plaintiff's objections and adopts the magistrate judge's Report and Recommendation.

       The Court's standard of review for a magistrate judge's Report and

Recommendation depends upon whether a party files objections. If a party objects to

portions of the Report and Recommendation, the Court reviews those portions de novo.

28 U.S.C. § 636(b)(1)(C); Fed. R. Civ. P. 72(b)(3). De novo review in these circumstances

requires at least a review of the evidence before the magistrate judge; the Court may not
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act solely on the basis of a magistrate judge's Report and Recommendation. See 12

Wright, Miller & Marcus, Federal Practice and Procedure: Civil 2d § 3070.2 (1997); see also

Hill v. Duriron Co., 656 F.2d 1208, 1215 (6th Cir. 1981). After reviewing the evidence, the

Court "may accept, reject, or modify, in whole or in part, the findings or recommendations"

of the magistrate judge. 28 U.S.C. § 636(b)(1)(c). In this case, the the plaintiff has filed

objections to the magistrate judge’s Report and Recommendation. Accordingly, the Court

has conducted a de novo review of the record.

       After considering the plaintiff’s objections and conducting a de novo review of the

record, the Court finds that the reasoning of the magistrate judge is sound and that his

conclusions are correct.     First, on the plaintiff’s claim of delayed arraignment, the

magistrate judge correctly ruled that there is no genuine issue of material fact and that as

a matter of law, the defendants were entitled to summary judgment. There is no question

that the plaintiff was suffering from the effects of withdrawal and of his medication, and that

the delayed arraignment was due to the plaintiff’s condition. Therefore, even when

considering all the facts and inferences in the light most favorable to the nonmoving

plaintiff, there is insufficient evidence to counter the defendants’ explanation for the delay

in bringing the plaintiff to an arraignment.

       Second, on the plaintiff’s claim of deliberate indifference to his medical needs, the

magistrate judge correctly ruled that there is no genuine issue of material fact and that as

a matter of law, the defendants were entitled to summary judgment. The plaintiff has failed

to provide sufficient evidence supporting a claim that the defendants were deliberately

indifferent to the plaintiff’s medical condition. In addition, the plaintiff has failed to show

supervisory liability, and has failed to show some custom or policy of the city or identify a

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deficiency in the training program that lead to the alleged medical neglect. In summary,

when considering the facts and inferences in the light most favorable to the nonmoving

plaintiff, there is insufficient evidence to support a finding by a factfinder that any of the

defendants violated the plaintiff’s constitutional rights. Finally, the Court finds that the

magistrate judge’s reasoning and ruling on the issue of qualified immunity is correct.

       Accordingly, after having reviewed the magistrate judge’s Report and

Recommendation, the plaintiff’s objections, and the applicable portions of the record,

       IT IS HEREBY ORDERED that the plaintiff’s objections [docket entry #68] to the

Report and Recommendation are OVERRULED.

       IT IS FURTHER ORDERED that the Report and Recommendation [docket entry

#61] is ACCEPTED and ADOPTED as the opinion of this Court.

       IT IS FURTHER ORDERED that the motion for summary judgment filed by the

defendants [docket entry #34] is GRANTED.

       IT IS FURTHER ORDERED that the plaintiff’s claims are DISMISSED WITH

PREJUDICE.

       SO ORDERED.



                            s/Stephen J. Murphy, III
                            STEPHEN J. MURPHY, III
                            United States District Judge

Dated: January 15, 2009



I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on January 15, 2009, by electronic and/or ordinary mail.

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                       s/Alissa Greer
                       Case Manager




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